Case 2:02-cv-02795-SHI\/|-dkv Document 152 Filed 08/22/05 Page 1 of 3 Page|D 192

 

IN THE UNITED sTATES DISTRICT cOURT BY -'~c D.O.
FOR THE wEsTERN DISTRICT OF TENNESSEE 05 A
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CURLEE WEBB, CLEHK U-S~ -»i'SjFN)TCOmT
w/D cf nw grams
Plaintiff,
vs. No. 02-2795-Mav

CORPORATE SECURITY, INC., ET AL.,
Defendants/Third-Party Plaintiffs,

VS.

RENEE AUSTILL,

Third-Party Defendant.

 

ORDER EX'I'ENDING DEADLINE

 

Before the court is third party defendant Renee Austill's
August 17, 2005, unopposed motion requesting an extension of time
within which to file a dispositive motion. For good cause shown,
the motion is granted. Third party defendant Renee Austill shall
have additional time to and including August 30, 2005, within
which to file a dispositive motion.

All other deadlines previously set in this matter remain in
effect pending further order of the court.

It is so ORDERED this l%Aday of August

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 152 in
case 2:02-CV-02795 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

